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             IMPORTANT NOTICE REGARDING BANKRUPTCY CASES
                               U.S. BANKRUPTCY COURT
                           DISTRICT OF SOUTH CAROLINA
                SPARTANBURG AND GREENVILLE DIVISIONS ONLY


You are receiving this notice because you or your attorney are listed as a party or
participant in one or more cases originally filed in the Spartanburg Division for the United
States Bankruptcy Court for the District of South Carolina. A list of affected case numbers
is attached.
Effective March 1, 2022, the Spartanburg division will relocate to Greenville, South
Carolina. In preparing for this move, a limited number of cases were erroneously
duplicated electronically, such that for approximately 24-48 hours two cases with the
same case number may have existed, one designated as a Spartanburg division case
and one as a Greenville division case. This error has been remedied, leaving only one
case in the appropriate division. During the remedial process staff for the Court compared
the duplicated case dockets to ensure that the correct, remaining docket contains all
filings made during the period of error. Notwithstanding these efforts, if you filed any
document with the Court in the Spartanburg or Greenville division(s) between February
2, 2022, and the receipt of this notice, you may wish to review the case to verify that your
filing is reflected on the case docket or in the associated claim’s register. Clerk’s Office
employees are available to assist you if you have questions or need further information.
You can reach the Clerk’s Office at 803-765-5436. We apologize for any inconvenience
this may have caused.
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16‐01146‐hb   16‐05300‐hb    17‐00238‐hb     17‐01799‐hb   17‐02849‐hb   17‐04118‐hb   17‐05205‐hb
16‐01428‐hb   16‐05337‐hb    17‐00284‐hb     17‐01848‐hb   17‐02875‐hb   17‐04171‐hb   17‐05237‐hb
16‐01808‐hb   16‐05368‐hb    17‐00353‐hb     17‐01866‐hb   17‐02903‐hb   17‐04179‐hb   17‐05299‐hb
16‐01865‐hb   16‐05375‐hb    17‐00385‐hb     17‐01912‐hb   17‐02922‐hb   17‐04200‐hb   17‐05306‐hb
16‐02036‐hb   16‐05388‐hb    17‐00400‐hb     17‐01954‐hb   17‐02928‐hb   17‐04233‐hb   17‐05333‐hb
16‐02334‐hb   16‐05406‐hb    17‐00436‐hb     17‐01960‐hb   17‐02964‐hb   17‐04294‐hb   17‐05334‐hb
16‐02451‐hb   16‐05412‐hb    17‐00506‐hb     17‐01963‐hb   17‐02986‐hb   17‐04307‐hb   17‐05365‐hb
16‐02468‐hb   16‐05433‐hb    17‐00507‐hb     17‐01969‐hb   17‐02997‐hb   17‐04308‐hb   17‐05401‐hb
16‐02571‐hb   16‐05522‐hb    17‐00508‐hb     17‐01975‐hb   17‐03053‐hb   17‐04337‐hb   17‐05432‐hb
16‐02633‐hb   16‐05588‐hb    17‐00532‐hb     17‐01977‐hb   17‐03064‐hb   17‐04347‐hb   17‐05498‐hb
16‐02739‐hb   16‐05612‐hb    17‐00630‐hb     17‐01989‐hb   17‐03068‐hb   17‐04349‐hb   17‐05503‐hb
16‐02744‐hb   16‐05720‐hb    17‐00642‐hb     17‐01997‐hb   17‐03099‐hb   17‐04353‐hb   17‐05504‐hb
16‐03429‐hb   16‐05721‐hb    17‐00719‐hb     17‐01998‐hb   17‐03109‐hb   17‐04359‐hb   17‐05509‐hb
16‐03531‐hb   16‐05734‐hb    17‐00728‐hb     17‐02029‐hb   17‐03116‐hb   17‐04370‐hb   17‐05520‐hb
16‐03737‐hb   16‐05739‐hb    17‐00733‐hb     17‐02049‐hb   17‐03118‐hb   17‐04462‐hb   17‐05548‐hb
16‐03778‐hb   16‐05742‐hb    17‐00774‐hb     17‐02050‐hb   17‐03226‐hb   17‐04496‐hb   17‐05551‐hb
16‐03838‐hb   16‐05747‐hb    17‐00778‐hb     17‐02067‐hb   17‐03244‐hb   17‐04524‐hb   17‐05620‐hb
16‐03983‐hb   16‐05782‐hb    17‐00783‐hb     17‐02068‐hb   17‐03260‐hb   17‐04542‐hb   17‐05649‐hb
16‐03988‐hb   16‐05785‐hb    17‐00789‐hb     17‐02082‐hb   17‐03341‐hb   17‐04549‐hb   17‐05674‐hb
16‐04092‐hb   16‐05807‐hb    17‐00864‐hb     17‐02116‐hb   17‐03345‐hb   17‐04568‐hb   17‐05681‐hb
16‐04169‐hb   16‐05836‐hb    17‐00867‐hb     17‐02118‐hb   17‐03363‐hb   17‐04569‐hb   17‐05687‐hb
16‐04215‐hb   16‐05837‐hb    17‐00868‐hb     17‐02146‐hb   17‐03364‐hb   17‐04584‐hb   17‐05697‐hb
16‐04261‐hb   16‐05848‐hb    17‐00870‐hb     17‐02150‐hb   17‐03462‐hb   17‐04593‐hb   17‐05714‐hb
16‐04273‐hb   16‐05990‐hb    17‐00876‐hb     17‐02155‐hb   17‐03483‐hb   17‐04665‐hb   17‐05718‐hb
16‐04291‐hb   16‐06003‐hb    17‐00886‐hb     17‐02183‐hb   17‐03488‐hb   17‐04684‐hb   17‐05723‐hb
16‐04537‐hb   16‐06092‐hb    17‐00888‐hb     17‐02270‐hb   17‐03493‐hb   17‐04700‐hb   17‐05749‐hb
16‐04573‐hb   16‐06118‐hb    17‐00902‐hb     17‐02378‐hb   17‐03494‐hb   17‐04707‐hb   17‐05754‐hb
16‐04597‐hb   16‐06147‐hb    17‐00923‐hb     17‐02388‐hb   17‐03592‐hb   17‐04708‐hb   17‐05759‐hb
16‐04632‐hb   16‐06149‐hb    17‐00936‐hb     17‐02395‐hb   17‐03605‐hb   17‐04712‐hb   17‐05785‐hb
16‐04643‐hb   16‐06223‐hb    17‐01033‐hb     17‐02403‐hb   17‐03677‐hb   17‐04718‐hb   17‐05824‐hb
16‐04678‐hb   16‐06228‐hb    17‐01060‐hb     17‐02406‐hb   17‐03678‐hb   17‐04723‐hb   17‐05825‐hb
16‐04690‐hb   16‐06232‐hb    17‐01116‐hb     17‐02410‐hb   17‐03717‐hb   17‐04743‐hb   17‐05842‐hb
16‐04714‐hb   16‐06249‐hb    17‐01261‐hb     17‐02412‐hb   17‐03723‐hb   17‐04769‐hb   17‐05869‐hb
16‐04830‐hb   16‐06268‐hb    17‐01319‐hb     17‐02424‐hb   17‐03727‐hb   17‐04787‐hb   17‐05871‐hb
16‐04858‐hb   16‐06326‐hb    17‐01334‐hb     17‐02441‐hb   17‐03772‐hb   17‐04794‐hb   17‐05877‐hb
16‐04861‐hb   16‐06342‐hb    17‐01336‐hb     17‐02482‐hb   17‐03779‐hb   17‐04798‐hb   17‐05882‐hb
16‐04881‐hb   16‐06381‐hb    17‐01408‐hb     17‐02516‐hb   17‐03781‐hb   17‐04802‐hb   17‐05890‐hb
16‐04909‐hb   16‐06418‐hb    17‐01470‐hb     17‐02526‐hb   17‐03827‐hb   17‐04824‐hb   17‐05896‐hb
16‐04931‐hb   16‐06434‐hb    17‐01519‐hb     17‐02537‐hb   17‐03851‐hb   17‐04867‐hb   17‐05897‐hb
16‐04989‐hb   16‐06461‐hb    17‐01525‐hb     17‐02571‐hb   17‐03864‐hb   17‐04881‐hb   17‐05927‐hb
16‐05000‐hb   16‐06474‐hb    17‐01564‐hb     17‐02594‐hb   17‐03869‐hb   17‐04917‐hb   17‐05940‐hb
16‐05037‐hb   16‐06477‐hb    17‐01568‐hb     17‐02632‐hb   17‐03895‐hb   17‐04985‐hb   17‐05963‐hb
16‐05101‐hb   16‐06514‐hb    17‐01581‐hb     17‐02633‐hb   17‐03921‐hb   17‐04989‐hb   19‐04994‐hb
16‐05117‐hb   16‐06531‐hb    17‐01588‐hb     17‐02647‐hb   17‐03923‐hb   17‐04997‐hb   19‐06130‐hb
16‐05126‐hb   17‐00096‐hb    17‐01595‐hb     17‐02648‐hb   17‐03938‐hb   17‐05004‐hb   19‐06167‐hb
16‐05157‐hb   17‐00099‐hb    17‐01688‐hb     17‐02666‐hb   17‐03939‐hb   17‐05037‐hb   19‐06205‐hb
16‐05158‐hb   17‐00108‐hb    17‐01729‐hb     17‐02706‐hb   17‐03965‐hb   17‐05085‐hb   19‐06299‐hb
16‐05174‐hb   17‐00141‐hb    17‐01752‐hb     17‐02710‐hb   17‐04022‐hb   17‐05114‐hb   19‐06412‐hb
16‐05187‐hb   17‐00175‐hb    17‐01760‐hb     17‐02800‐hb   17‐04091‐hb   17‐05151‐hb   20‐00122‐hb
16‐05253‐hb   17‐00180‐hb    17‐01793‐hb     17‐02816‐hb   17‐04099‐hb   17‐05195‐hb   20‐00314‐hb
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20‐00442‐hb   20‐02293‐hb    20‐03054‐hb     20‐03739‐hb   20‐04502‐hb   21‐00556‐hb   21‐01302‐hb
20‐00597‐hb   20‐02320‐hb    20‐03058‐hb     20‐03767‐hb   20‐04548‐hb   21‐00571‐hb   21‐01303‐hb
20‐00629‐hb   20‐02324‐hb    20‐03080‐hb     20‐03777‐hb   20‐04549‐hb   21‐00586‐hb   21‐01304‐hb
20‐01528‐hb   20‐02328‐hb    20‐03081‐hb     20‐03779‐hb   20‐04559‐hb   21‐00593‐hb   21‐01329‐hb
20‐01531‐hb   20‐02342‐hb    20‐03086‐hb     20‐03839‐hb   20‐04561‐hb   21‐00618‐hb   21‐01330‐hb
20‐01541‐hb   20‐02347‐hb    20‐03100‐hb     20‐03842‐hb   20‐04590‐hb   21‐00680‐hb   21‐01332‐hb
20‐01543‐hb   20‐02498‐hb    20‐03106‐hb     20‐03853‐hb   20‐04603‐hb   21‐00702‐hb   21‐01339‐hb
20‐01602‐hb   20‐02499‐hb    20‐03116‐hb     20‐03879‐hb   20‐04610‐hb   21‐00705‐hb   21‐01343‐hb
20‐01613‐hb   20‐02500‐hb    20‐03117‐hb     20‐03890‐hb   20‐04614‐hb   21‐00708‐hb   21‐01360‐hb
20‐01614‐hb   20‐02501‐hb    20‐03120‐hb     20‐03903‐hb   20‐04647‐hb   21‐00714‐hb   21‐01364‐hb
20‐01644‐hb   20‐02509‐hb    20‐03124‐hb     20‐03945‐hb   20‐04651‐hb   21‐00729‐hb   21‐01373‐hb
20‐01652‐hb   20‐02527‐hb    20‐03132‐hb     20‐03949‐hb   20‐04654‐hb   21‐00733‐hb   21‐01376‐hb
20‐01667‐hb   20‐02543‐hb    20‐03170‐hb     20‐03983‐hb   20‐04656‐hb   21‐00746‐hb   21‐01407‐hb
20‐01670‐hb   20‐02549‐hb    20‐03192‐hb     20‐03989‐hb   20‐80049‐hb   21‐00753‐hb   21‐01416‐hb
20‐01728‐hb   20‐02585‐hb    20‐03193‐hb     20‐04007‐hb   20‐80067‐hb   21‐00775‐hb   21‐01432‐hb
20‐01738‐hb   20‐02588‐hb    20‐03196‐hb     20‐04037‐hb   20‐80068‐hb   21‐00798‐hb   21‐01446‐hb
20‐01758‐hb   20‐02612‐hb    20‐03198‐hb     20‐04038‐hb   21‐00015‐hb   21‐00805‐hb   21‐01447‐hb
20‐01817‐hb   20‐02622‐hb    20‐03206‐hb     20‐04054‐hb   21‐00024‐hb   21‐00839‐hb   21‐01449‐hb
20‐01829‐hb   20‐02660‐hb    20‐03254‐hb     20‐04070‐hb   21‐00028‐hb   21‐00857‐hb   21‐01451‐hb
20‐01834‐hb   20‐02689‐hb    20‐03292‐hb     20‐04097‐hb   21‐00034‐hb   21‐00873‐hb   21‐01455‐hb
20‐01836‐hb   20‐02695‐hb    20‐03315‐hb     20‐04107‐hb   21‐00048‐hb   21‐00875‐hb   21‐01487‐hb
20‐01850‐hb   20‐02710‐hb    20‐03329‐hb     20‐04122‐hb   21‐00054‐hb   21‐00887‐hb   21‐01492‐hb
20‐01873‐hb   20‐02730‐hb    20‐03339‐hb     20‐04140‐hb   21‐00079‐hb   21‐00891‐hb   21‐01503‐hb
20‐01885‐hb   20‐02734‐hb    20‐03358‐hb     20‐04156‐hb   21‐00084‐hb   21‐00915‐hb   21‐01508‐hb
20‐01907‐hb   20‐02736‐hb    20‐03400‐hb     20‐04168‐hb   21‐00115‐hb   21‐00929‐hb   21‐01533‐hb
20‐01918‐hb   20‐02743‐hb    20‐03403‐hb     20‐04184‐hb   21‐00164‐hb   21‐00935‐hb   21‐01534‐hb
20‐01993‐hb   20‐02776‐hb    20‐03417‐hb     20‐04188‐hb   21‐00201‐hb   21‐00944‐hb   21‐01537‐hb
20‐01996‐hb   20‐02790‐hb    20‐03420‐hb     20‐04216‐hb   21‐00204‐hb   21‐00949‐hb   21‐01542‐hb
20‐02020‐hb   20‐02805‐hb    20‐03453‐hb     20‐04235‐hb   21‐00220‐hb   21‐00955‐hb   21‐01607‐hb
20‐02053‐hb   20‐02818‐hb    20‐03468‐hb     20‐04237‐hb   21‐00241‐hb   21‐00957‐hb   21‐01613‐hb
20‐02061‐hb   20‐02827‐hb    20‐03484‐hb     20‐04253‐hb   21‐00273‐hb   21‐00963‐hb   21‐01624‐hb
20‐02072‐hb   20‐02837‐hb    20‐03487‐hb     20‐04309‐hb   21‐00279‐hb   21‐01029‐hb   21‐01634‐hb
20‐02081‐hb   20‐02843‐hb    20‐03509‐hb     20‐04316‐hb   21‐00292‐hb   21‐01051‐hb   21‐01656‐hb
20‐02095‐hb   20‐02854‐hb    20‐03515‐hb     20‐04328‐hb   21‐00342‐hb   21‐01089‐hb   21‐01661‐hb
20‐02113‐hb   20‐02859‐hb    20‐03521‐hb     20‐04343‐hb   21‐00348‐hb   21‐01093‐hb   21‐01662‐hb
20‐02122‐hb   20‐02867‐hb    20‐03553‐hb     20‐04355‐hb   21‐00350‐hb   21‐01105‐hb   21‐01663‐hb
20‐02130‐hb   20‐02883‐hb    20‐03573‐hb     20‐04366‐hb   21‐00367‐hb   21‐01135‐hb   21‐01679‐hb
20‐02138‐hb   20‐02913‐hb    20‐03593‐hb     20‐04374‐hb   21‐00415‐hb   21‐01140‐hb   21‐01685‐hb
20‐02158‐hb   20‐02925‐hb    20‐03594‐hb     20‐04386‐hb   21‐00418‐hb   21‐01141‐hb   21‐01688‐hb
20‐02168‐hb   20‐02934‐hb    20‐03620‐hb     20‐04391‐hb   21‐00422‐hb   21‐01167‐hb   21‐01707‐hb
20‐02173‐hb   20‐02946‐hb    20‐03627‐hb     20‐04395‐hb   21‐00449‐hb   21‐01180‐hb   21‐01720‐hb
20‐02194‐hb   20‐02974‐hb    20‐03641‐hb     20‐04399‐hb   21‐00463‐hb   21‐01183‐hb   21‐01724‐hb
20‐02199‐hb   20‐02982‐hb    20‐03672‐hb     20‐04402‐hb   21‐00493‐hb   21‐01223‐hb   21‐01755‐hb
20‐02200‐hb   20‐02989‐hb    20‐03677‐hb     20‐04412‐hb   21‐00508‐hb   21‐01225‐hb   21‐01762‐hb
20‐02211‐hb   20‐02995‐hb    20‐03700‐hb     20‐04415‐hb   21‐00524‐hb   21‐01227‐hb   21‐01766‐hb
20‐02222‐hb   20‐03003‐hb    20‐03704‐hb     20‐04426‐hb   21‐00525‐hb   21‐01236‐hb   21‐01775‐hb
20‐02230‐hb   20‐03006‐hb    20‐03711‐hb     20‐04434‐hb   21‐00528‐hb   21‐01242‐hb   21‐01791‐hb
20‐02268‐hb   20‐03030‐hb    20‐03726‐hb     20‐04435‐hb   21‐00529‐hb   21‐01268‐hb   21‐01809‐hb
20‐02271‐hb   20‐03042‐hb    20‐03727‐hb     20‐04460‐hb   21‐00542‐hb   21‐01269‐hb   21‐01812‐hb
20‐02280‐hb   20‐03053‐hb    20‐03729‐hb     20‐04464‐hb   21‐00553‐hb   21‐01290‐hb   21‐01814‐hb
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21‐01826‐hb   21‐02267‐hb    21‐02679‐hb     21‐02917‐hb   21‐03094‐hb   21‐03298‐hb   22‐00066‐hb
21‐01834‐hb   21‐02291‐hb    21‐02681‐hb     21‐02919‐hb   21‐03095‐hb   21‐03299‐hb   22‐00068‐hb
21‐01838‐hb   21‐02297‐hb    21‐02684‐hb     21‐02923‐hb   21‐03101‐hb   21‐03303‐hb   22‐00074‐hb
21‐01839‐hb   21‐02302‐hb    21‐02686‐hb     21‐02924‐hb   21‐03103‐hb   21‐03313‐hb   22‐00078‐hb
21‐01851‐hb   21‐02312‐hb    21‐02696‐hb     21‐02928‐hb   21‐03107‐hb   21‐03316‐hb   22‐00080‐hb
21‐01862‐hb   21‐02351‐hb    21‐02702‐hb     21‐02933‐hb   21‐03113‐hb   21‐03321‐hb   22‐00086‐hb
21‐01880‐hb   21‐02352‐hb    21‐02713‐hb     21‐02943‐hb   21‐03124‐hb   21‐03325‐hb   22‐00087‐hb
21‐01907‐hb   21‐02353‐hb    21‐02722‐hb     21‐02952‐hb   21‐03134‐hb   21‐03326‐hb   22‐00088‐hb
21‐01908‐hb   21‐02354‐hb    21‐02733‐hb     21‐02955‐hb   21‐03137‐hb   21‐03327‐hb   22‐00099‐hb
21‐01915‐hb   21‐02355‐hb    21‐02739‐hb     21‐02958‐hb   21‐03138‐hb   21‐03329‐hb   22‐00105‐hb
21‐01926‐hb   21‐02369‐hb    21‐02751‐hb     21‐02959‐hb   21‐03141‐hb   21‐03334‐hb   22‐00114‐hb
21‐01942‐hb   21‐02370‐hb    21‐02757‐hb     21‐02966‐hb   21‐03142‐hb   21‐03335‐hb   22‐00129‐hb
21‐01943‐hb   21‐02386‐hb    21‐02769‐hb     21‐02976‐hb   21‐03144‐hb   21‐03338‐hb   22‐00133‐hb
21‐01944‐hb   21‐02393‐hb    21‐02774‐hb     21‐02977‐hb   21‐03146‐hb   21‐80034‐hb   22‐00136‐hb
21‐01945‐hb   21‐02404‐hb    21‐02777‐hb     21‐02979‐hb   21‐03147‐hb   21‐80035‐hb   22‐00137‐hb
21‐01946‐hb   21‐02430‐hb    21‐02778‐hb     21‐02981‐hb   21‐03153‐hb   21‐80036‐hb   22‐00149‐hb
21‐01947‐hb   21‐02434‐hb    21‐02779‐hb     21‐02992‐hb   21‐03155‐hb   21‐80040‐hb   22‐00158‐hb
21‐01973‐hb   21‐02441‐hb    21‐02781‐hb     21‐02993‐hb   21‐03156‐hb   21‐80043‐hb   22‐00162‐hb
21‐01978‐hb   21‐02446‐hb    21‐02784‐hb     21‐02999‐hb   21‐03158‐hb   21‐80044‐hb   22‐00177‐hb
21‐01997‐hb   21‐02447‐hb    21‐02785‐hb     21‐03000‐hb   21‐03163‐hb   21‐80045‐hb   22‐00181‐hb
21‐02004‐hb   21‐02466‐hb    21‐02796‐hb     21‐03001‐hb   21‐03168‐hb   21‐80046‐hb   22‐00183‐hb
21‐02007‐hb   21‐02472‐hb    21‐02805‐hb     21‐03003‐hb   21‐03170‐hb   21‐80051‐hb   22‐00185‐hb
21‐02008‐hb   21‐02478‐hb    21‐02811‐hb     21‐03005‐hb   21‐03185‐hb   21‐80057‐hb   22‐00195‐hb
21‐02009‐hb   21‐02489‐hb    21‐02813‐hb     21‐03006‐hb   21‐03186‐hb   21‐80058‐hb   22‐00205‐hb
21‐02019‐hb   21‐02494‐hb    21‐02814‐hb     21‐03008‐hb   21‐03187‐hb   21‐80065‐hb   22‐00206‐hb
21‐02025‐hb   21‐02495‐hb    21‐02816‐hb     21‐03009‐hb   21‐03192‐hb   21‐80067‐hb   22‐00207‐hb
21‐02031‐hb   21‐02508‐hb    21‐02818‐hb     21‐03016‐hb   21‐03193‐hb   21‐80073‐hb   22‐00209‐hb
21‐02048‐hb   21‐02515‐hb    21‐02835‐hb     21‐03020‐hb   21‐03197‐hb   21‐80074‐hb   22‐00212‐hb
21‐02059‐hb   21‐02543‐hb    21‐02836‐hb     21‐03024‐hb   21‐03198‐hb   21‐80075‐hb   22‐00216‐hb
21‐02070‐hb   21‐02554‐hb    21‐02837‐hb     21‐03031‐hb   21‐03199‐hb   21‐80076‐hb   22‐00217‐hb
21‐02081‐hb   21‐02555‐hb    21‐02849‐hb     21‐03032‐hb   21‐03203‐hb   21‐80077‐hb   22‐00218‐hb
21‐02086‐hb   21‐02556‐hb    21‐02850‐hb     21‐03033‐hb   21‐03205‐hb   21‐80078‐hb   22‐00219‐hb
21‐02109‐hb   21‐02557‐hb    21‐02851‐hb     21‐03034‐hb   21‐03208‐hb   21‐80079‐hb   22‐00222‐hb
21‐02114‐hb   21‐02559‐hb    21‐02855‐hb     21‐03035‐hb   21‐03225‐hb   21‐80080‐hb   22‐00226‐hb
21‐02124‐hb   21‐02564‐hb    21‐02861‐hb     21‐03038‐hb   21‐03226‐hb   21‐80081‐hb   22‐00229‐hb
21‐02131‐hb   21‐02565‐hb    21‐02863‐hb     21‐03040‐hb   21‐03233‐hb   22‐00002‐hb   22‐00232‐hb
21‐02160‐hb   21‐02572‐hb    21‐02868‐hb     21‐03042‐hb   21‐03241‐hb   22‐00003‐hb   22‐80002‐hb
21‐02163‐hb   21‐02586‐hb    21‐02881‐hb     21‐03043‐hb   21‐03242‐hb   22‐00005‐hb
21‐02165‐hb   21‐02608‐hb    21‐02886‐hb     21‐03046‐hb   21‐03244‐hb   22‐00007‐hb
21‐02181‐hb   21‐02621‐hb    21‐02888‐hb     21‐03054‐hb   21‐03247‐hb   22‐00008‐hb
21‐02184‐hb   21‐02630‐hb    21‐02889‐hb     21‐03060‐hb   21‐03248‐hb   22‐00010‐hb
21‐02187‐hb   21‐02635‐hb    21‐02890‐hb     21‐03067‐hb   21‐03250‐hb   22‐00023‐hb
21‐02192‐hb   21‐02640‐hb    21‐02891‐hb     21‐03068‐hb   21‐03256‐hb   22‐00030‐hb
21‐02193‐hb   21‐02645‐hb    21‐02898‐hb     21‐03069‐hb   21‐03258‐hb   22‐00033‐hb
21‐02197‐hb   21‐02649‐hb    21‐02901‐hb     21‐03070‐hb   21‐03259‐hb   22‐00036‐hb
21‐02219‐hb   21‐02655‐hb    21‐02906‐hb     21‐03076‐hb   21‐03268‐hb   22‐00041‐hb
21‐02222‐hb   21‐02661‐hb    21‐02908‐hb     21‐03079‐hb   21‐03271‐hb   22‐00043‐hb
21‐02224‐hb   21‐02669‐hb    21‐02909‐hb     21‐03086‐hb   21‐03274‐hb   22‐00054‐hb
21‐02248‐hb   21‐02673‐hb    21‐02911‐hb     21‐03090‐hb   21‐03285‐hb   22‐00058‐hb
21‐02257‐hb   21‐02674‐hb    21‐02915‐hb     21‐03092‐hb   21‐03294‐hb   22‐00063‐hb
